Case 1:16-cv-22082-JAL Document 66 Entered on FLSD Docket 01/09/2018 Page 1 of 2



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 16-22082-CIV-LENARD/GOODMAN

 ROSA CABRERA, et al.,

        Plaintiff,

 v.

 HIALEAH HOUSING
 AUTHORITY, INC., et al.,

       Defendants.
 ____________________________/

  ORDER ADOPTING REPORT AND RECOMMENDATIONS ON MOTION TO
                      TAX COSTS (D.E. 65)

        THIS CAUSE is before the Court on the Report and Recommendations on

 Motion to Tax Costs issued by Magistrate Judge Jonathan Goodman on December 22,

 2017. (“Report,” D.E. 65.) Therein, Judge Goodman recommends that the Court grant in

 part Defendants’ Motion to Tax Costs (D.E. 61) and award Defendants $4,627.50. The

 Report provides the Parties with fourteen (14) days to file objections. As of the date of

 this Order, no objections have been filed. Failure to file objections shall bar parties from

 attacking on appeal the factual findings contained in the report. See Resolution Trust

 Corp. v. Hallmark Builders, Inc., 996 F.2d 1144, 1149 (11th Cir. 1993). Therefore, after

 an independent review of the Report and record, it is hereby ORDERED AND

 ADJUDGED that:

        1.     The Report and Recommendations of the Magistrate Judge (D.E. 65) issued

               on December 22, 2017, is ADOPTED;
Case 1:16-cv-22082-JAL Document 66 Entered on FLSD Docket 01/09/2018 Page 2 of 2




         2.   Defendants’ Motion to Tax Costs (D.E. 61) is GRANTED IN PART; and

         3.   Defendants Hialeah Housing Authority and Rene Gutierrez shall have and

              receive from Plaintiffs Rosa Cabrera and Nelson Marquez $4,627.50 in

              taxable costs, for which sum let execution issue.

         DONE AND ORDERED in Chambers at Miami, Florida this 9th day of January,

 2018.


                                          ____________________________________
                                          JOAN A. LENARD
                                          UNITED STATES DISTRICT JUDGE




                                                2
